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Case: 5:22-cv-01454-CEH Doc #: 32-4 Filed: 03/29/24 2 of 2. PagelD #: 230

MIAO Grav}~ Opler #1395 condiemed
ee N
Rwy Grnail Karl Forgot <fferec@gmail.com>
Order #1396 confirmed
1 message
FPGA Land <ssies@[pga,tand> 14 June 2048 at 62:03

To: fesk@flml net

FPGA Land ORDER 11305

Thank you for your purchase!

HI Gail, we're gating your order roady to be shippad. We will nollfy you when it
has bea sent,

or Visit our store

Order summary

BCU1626 - Blockchain Edition (With Mods &
RAM) x 10 $36,000.00

TEGE

Subtolat $36,000.00
Shipping $224.06
Total $36,224.06 USD

Customer Information

Shipping address Billing address

Garl Forsell Catt Forsell

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#03-27 St Martin Residence #03-21 St Martin Residence

Slagapore 258006 Singapore 258005

Singapore Singapore

Shipping method Payment method

Worldwide Coinbase commerce — $36,224.06

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